Case 1:17-cv-00602-JAO-WRP Document 44 Filed 10/17/19 Page 1 of 3           PageID #: 156




  Andrew J. Guzzo (HI-SBN 010586)
  KELLY GUZZO, PLC
  7 Waterfront Plaza
  500 Ala Moana Blvd., Suite 400
  Honolulu, HI 96813
  Telephone: 808-543-1122
  Email: aguzzo@kellyguzzo.com
  Counsel for Plaintiff


                  IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF HAWAII


  SOUKSAMLANE JERMAN,                                ) Civil No. CV 17-00602 (JAO/WRP)
                                                     )
               Plaintiff,                            ) NOTICE OF SETTLEMENT
                                                     ) OF INDIVIDUAL CLAIMS
  v.                                                 )
                                                     )
  EQUIFAX INFORMATION SERVICES,                      )
  LLC;                                               )
                                                     )
                Defendant.                           )
                                                     )
                                                     )

        Plaintiff, Souksamlane Jerman, by counsel, hereby notifies the Court that she

  has reached a settlement with Defendant, Equifax Information Services, LLC,

  (“Equifax”) of her individual claims that remain in this case and is presently working

  with Equifax to the necessary documents to effectuate the settlement. Within thirty

  (30) days or such other time period ordered by the Court, the parties will submit a

  stipulation of dismissal for entry by the Court.

        Submitted on this 17th day of October, 2019.
Case 1:17-cv-00602-JAO-WRP Document 44 Filed 10/17/19 Page 2 of 3   PageID #: 157




                                          Respectfully Submitted,

                                          By: /s/ Andrew J. Guzzo
                                          KELLY GUZZO, PLC
                                          7 Waterfront Plaza
                                          500 Ala Moana Blvd., Suite 400
                                          Honolulu, HI 96813
                                          Telephone: 808-543-1122
                                          Email: aguzzo@kellyguzzo.com
                                          Counsel for Plaintiff
Case 1:17-cv-00602-JAO-WRP Document 44 Filed 10/17/19 Page 3 of 3          PageID #: 158




                            CERTIFICATE OF SERVICE

        I hereby certify that on October 17, 2019, I electronically filed the foregoing

  with the Clerk of Court using the CM/ECF system, which will then send a

  notification of such filing (NEF) to all counsel of record.



                                                By: /s/ Andrew J. Guzzo_________
                                                KELLY GUZZO, PLC
                                                7 Waterfront Plaza
                                                500 Ala Moana Blvd., Suite 400
                                                Honolulu, HI 96813
                                                Telephone: 808-543-1122
                                                Email: aguzzo@kellyguzzo.com
                                                Counsel for Plaintiff
